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  VIA ECF

  Hon. James R. Cho, U.S.M.J.
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11021-1804

  Re:    IME WatchDog, Inc. v. Gelardi, et al.
         Case No. 1:22-cv-1032 (PKC)(JRC)

  Dear Judge Cho:

           We represent the defendants in the above-referenced matter and respectfully request a two
  week extension of all dates in the Order of April 14, 2023. On account of the motion to hold my
  clients in contempt, I was unable to get them to focus sufficiently on the issues involving
  settlement with third-party defendant Carlos Roa (“Roa”). I believe that with an additional two
  weeks I may have some success.

         This letter is sent without the consent of Roa’s counsel.

         I thank you for your courtesy and attention to this matter.


                                                               Respectfully yours,


                                                               /s/ Jonathon D. Warner

  JDW/dlr

  cc:    All counsel (via ECF)
